Case 8:16-cv-01094-RAL-TBM Document 18 Filed 11/07/16 Page 1 of 1 PageID 59



                                 UNITED STATES DISTRIC COURT
                                  MIDDLE DISTRIC OF FLORIDA
                                       TAMPA DIVISION

JANICE PAUL,

   Plaintiff,

-vs-                                                  CASE NO.: 8:16-CV-01094-RAL-TBM

BANK OF AMERICA, N.A.,

   Defendant,
                                        /

                               NOTICE OF PENDING SETTLEMENT

        Plaintiff, JANICE PAUL, by and through her undersigned counsel, hereby notifies the Court that

the parties, Plaintiff, JANICE PAUL, and Defendants, BANK OF AMERICA, N.A., have reached a

settlement with regard to this case, and are presently drafting, and finalizing the settlement agreement,

and general release documents. Upon execution of the same, the parties will file the appropriate dismissal

documents with the Court.

                                    CERTIFICATE OF SERVICE

        I hereby certify that on November 7, 2016, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system and that a Notice of this filing will be sent to the

following by operation of the Court’s Electronic Filing System: C. H. Houston, III, Esquire, and

Sara F. Holladay-Tobias, Esquire, McGuire Woods LLP, 50 N. Laura Street, Suite 3300, Jacksonville, FL

32202 (hhouston@mcguirewoods.com and stobias@mcguirewoods.com).

                                                  /s/Frank H. Kerney, III, Esquire
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